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                                                                                             E-FILED
                                                     Monday, 05 May, 2014 05:20:29 PM
                                                          Clerk, U.S. District Court, ILCD
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

MICHAEL MOORE; CHARLES HOOKS;                      )
PEGGY FLETCHER; JON MAIER; SECOND                  )
AMENDMENT FOUNDATION, INC.; and                    )
ILLINOIS CARRY,                                    )
                                                   )
       Plaintiffs,                                 )
                                                   )
       -vs-                                        )       No. 11-3134
                                                   )
LISA MADIGAN, in her Official Capacity as          )
Attorney General of the State of Illinois; and     )
HIRAM GRAU, in his Official Capacity as            )
Director of the Illinois State Police,             )
                                                   )
               Defendants.                         )

              DEFENDANTS’ RENEWED MOTION TO DISMISS AS MOOT

       NOW COME defendants, Lisa Madigan, Attorney General of the State of Illinois,

and HIRAM GRAU, Director of the Illinois State Police, by their attorney, Lisa Madigan,

Attorney General of the State of Illinois, and, pursuant to Rule 12(b)(1) of the Federal

Rules of Civil Procedure, hereby move this honorable Court to dismiss this case as moot.

       In support thereof, it is stated:

       1.      Defendants asked this Court to dismiss this case as moot after enactment

of the Illinois Firearm Concealed Carry Act.

       2.      Plaintiffs objected to the motion to dismiss, noting that the Seventh Circuit

decision left the issue of relief to be decided by the District Court and arguing that the issue

of attorney fees also remained to be decided.

       3.      This Court denied the motion to dismiss, noting that the statutes challenged

by plaintiffs had merely been amended, not repealed and that, because of the 180 day

period in the statute for establishing a permitting process no one was, as of the date of the

Court’s order, authorized to carry concealed weapons.
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       4.     Because plaintiffs had not gotten the relief sought in the complaint, the Court

held that the case was not moot.

       5.     Less than two weeks after the Court issued its ruling, a status conference

was held at which plaintiffs admitted that they did not desire any relief with respect to the

current laws of the State of Illinois.

       6.     The Seventh Circuit has now held that any challenges to the current law must

be brought in a separate proceeding. Shepard v. Madigan, No. 11-405.

       7.     Because plaintiffs are seeking an additional relief on the merits and this Court

cannot grant relief regarding the former law, this case is now moot.

       8.     The question of attorney fees is an ancillary question to be decided after final

judgment.

       9.     The only appropriate final order te Court can enter on the merits of this case

is an order of dismissal

       WHEREFORE, defendants respectfully request that this honorable Court grant their

motion to dismiss as moot.

                                           Respectfully submitted,

                                           LISA MADIGAN, et al.
                                                 Defendants,

                                           LISA MADIGAN, Attorney General,
                                           State of Illinois,

                                                  Attorney for Defendants.

                                           By: /s/Terence J. Corrigan
                                                  Terence J. Corrigan, #6191237
                                                  Assistant Attorney General
                                                  500 South Second Street
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Attorney General of the State of Illinois; and    )
HIRAM GRAU, in his Official Capacity as           )
Director of the Illinois State Police,            )
                                                  )
                Defendants.                       )

                                    Certificate of Service

         I hereby certify that on May 5, 2014, I electronically filed Defendants’ Renewed
Motion to Dismiss with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:
                                     dsigale@sigalelaw.com
                                     David@djensenpllc.com

and I hereby certify that on May 5, 2014, I mailed by United States Postal Service, the
document to the following non-registered participant:

                                                  Respectfully submitted,

                                                  s/Terence J. Corrigan
                                                  Terence J. Corrigan, #6191237
                                                  Assistant Attorney General
                                                  500 South Second Street
                                                  Springfield, IL 62706
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